Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page1of33 PagelD 712

IN THE UNITED STATES DISTRICT COURT |
FOR THE NORTHERN DISTRICT OF TEXAS, yy 44 9% 154
LUBBOCK DIVISION re SOL

UNITED STATES OF AMERICA

Vv.

JOSE GARCIA-LIZANAGA (1)
a/k/a “Chepe”
JORGE LIZARRAGA-TIRADO (2)
a/k/a “Luis” or “Barba”
ANTONIO ALVAREZ, JR. (3)
a/k/a “Tony”
EDUARDO AGUSTIN CRUZ (4)
a/k/a “Lalo”
ROBERT LEE MELENDEZ (5)
a/k/a “Roberto”
JESUS MARCUS FRANCO (6)
a/k/a “Jesse”
JUANA SANCHEZ (7)
a/k/a “Juana Salazar” or “Jaime”
RICHARD DAVID HUPPER (8)
a/k/a “Piraton”
ANDREW DOYAL PUGH (9)
GREGORY HOLLEMAN (10)
a/k/a “G”
SAUL CHAVIRA-MOLINA (11)
JERMAINE EDGAR GARMON (12)
SHAD EVERETT EVANS (13)
ARTURO SANCHEZ (14)
PETRA MARIA SAUCEDA-PEREZ (16)
a/k/a “Aunt” or “Tia”
KIM HERRERA (17)
JESSICA ANGEL DELEON (18)
BRODERICK BRADLEY (19)
AMBROSIO GARCIA, JR. (20)
a/k/a “Bocho”
AMBROSIO
GARCIA-RODRIGUEZ, SR. (21)
ALEJANDRO CASTILLO (22)
a/k/a “Alex”
PAUL LARUE BRADLEY (23)

Jose Garcia-Lizanaga, et al.
Indictment - Page 1

 

 

 

No. 5:18-CR-050-C
(Supersedes indictment filed 6/13/18)

 
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page2of33 PagelD 713

SUPERSEDING INDICTMENT
The Grand Jury Charges:
Count One
Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substances
(Violation of 21 U.S.C. § 846)

From on or about a date unknown to the grand jury and continuing through on or
about the date of this indictment, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Jose Garcia-Lizanaga, also known as “Chepe”, Jorge Lizarraga-
Tirado, also known as “Luis” or “Barba”, Antonio Alvarez, Jr., also known as “Tony”,
Eduardo Agustin Cruz, also known as “Lalo”, Robert Lee Melendez, also known as
“Roberto”, Jesus Marcus Franco, also known as “Jesse”, Juana Sanchez, also known
as “Juana Salazar” or “Jaime”, Richard David Hupper, also known as “‘Piraton”,
Andrew Doyal Pugh, Gregory Holleman, also known as “G”, Saul Chavira-Molina,
Jermaine Edgar Garmon, Shad Everett Evans, Arturo Sanchez, Petra Maria
Sauceda-Perez, also known as “Aunt” or “Tia”, Kim Herrera, Jessica Angel Deleon,
Broderick Bradley, Ambrosio Garcia, Jr., also known as “Bocho”, Ambrosio Garcia-
Rodriguez, Sr., Alejandro Castillo, also known as “Alex”, and Paul Larue Bradley,
defendants, did knowingly and intentionally combine, conspire, confederate, and agree
with each other, and with persons known and unknown to the grand jury to commit an
offense against the United States, that is, to knowingly and intentionally distribute and
possess with intent to distribute a mixture and substance containing a detectable amount
of cocaine and methamphetamine, both Schedule II controlled substances, and

marihuana, a Schedule I controlled substance, in violation of Title 21, United States

Jose Garcia-Lizanaga, et al.
Indictment - Page 2

 
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page3of33 PagelD 714

Code, Section 841(a)(1).
Quantity of Controlled Substance Involved in the Conspiracy
Cocaine

With respect to defendants Jose Garcia-Lizanaga, also known as “Chepe”, Jorge
Lizarraga-Tirado, also known as “Luis” or “Barba”, Antonio Alvarez, Jr., also known
as “Tony”, Robert Lee Melendez, also known as “Roberto”, and Jesus Marcus Franco,
also known as “Jesse”, the amount involved in the conspiracy attributable to them as a
result of their own conduct, and the conduct of other conspirators reasonably foreseeable
to them, is five kilograms and more of a mixture and substance containing a detectable
amount of cocaine, a Schedule II controlled substance, in violation of Title 21, United
States Code, Section 841(b)(1)(A)(ii).

With respect to defendants Eduardo Agustin Cruz, also known as “Lalo”, Petra
Maria Sauceda-Perez, also known as “Aunt” or “Tia”, Kim Herrera, Jessica Angel
Deleon, Ambrosio Garcia, Jr. also known as “Bocho”, and Ambrosio Garcia-
Rodriguez, Sr., the amount involved in the conspiracy attributable to them as a result of
their own conduct, and the conduct of other conspirators reasonably foreseeable to them,
is 500 grams and more, but less than five kilograms, of a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance, in
violation of Title 21, United States Code, Section 841(b)(1)(B)(ii).

With respect to defendants Juana Sanchez, also known as “Juana Salazar” or
“Jaime”, Gregory Holleman, also known as “G”, Saul Chavira-Molina, Jermaine

Edgar Garmon, Shad Everett Evans, Arturo Sanchez, Broderick Bradley,

Jose Garcia-Lizanaga, et al.
Indictment - Page 3
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page4of33 PagelD 715

Alejandro Castillo, also known as “Alex”, and Paul Larue Bradley, the amount
involved in the conspiracy attributable to them as a result of their own conduct, and the
conduct of other conspirators reasonably foreseeable to them, is a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance, in
violation of Title 21, United States Code, Sections 841(b)(1)(C).
Methamphetamine

With respect to defendants Jose Garcia-Lizanaga, also known as “Chepe”,
Richard David Hupper, also known as “Piraton”, and Andrew Doyal Pugh, the amount
involved in the conspiracy attributable to them as a result of their own conduct, and the
conduct of other conspirators reasonably foreseeable to them, is 500 grams and more of a
mixture and substance containing a detectable amount of methamphetamine, and 50
grams and more of methamphetamine (actual), a Schedule II controlled substance, in
violation of Title 21, United States Code, Section 841(b)(1)(A)(viii).

Marihuana

With respect to defendants Jose Garcia-Lizanaga, also known as “Chepe”, Jorge
Lizarraga-Tirado, also known as “Luis” or “Barba”, Jesus Marcus Franco, also known
as “Jesse”, Ambrosio Garcia, Jr., also known as “Bocho”, and Ambrosio Garcia-
Rodriguez, Sr., the amount involved in the conspiracy attributable to them as a result of
their own conduct, and the conduct of other conspirators reasonably foreseeable to them,
is a mixture and substance containing a detectable amount of marihuana, a Schedule I
controlled substance, in violation of Title 21, United States Code, Section 841(b)(1)(D).

All in violation of Title 21, United States Code, Section 846.

Jose Garcia-Lizanaga, et al.
Indictment - Page 4
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page5of33 PagelD 716

Count Two
Distribution and Possession with Intent to Distribute
500 Grams or More of Cocaine
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(ii))

On or about June 10, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Jose Garcia-Lizanaga, also known as “Chepe”, Ambrosio
Garcia, Jr., also known as “Bocho”, and Ambrosio Garcia-Rodriguez, Sr., defendants,
did intentionally and knowingly distribute and possess with intent to distribute 500 grams
and more, but less than five kilograms, of a mixture and substance containing a detectable
amount of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B)(ii),
Title 18, United States Code, Section 2, and Pinkerton v. United States, 328 U.S. 640

(1946).

Jose Garcia-Lizanaga, et al.
Indictment - Page 5
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page6of33 PagelD 717

Count Three
Distribution and Possession with Intent to Distribute
500 Grams or More of Methamphetamine
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1 )(A)(viii))

On or about June 6, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Jose Garcia-Lizanaga, also known as “Chepe”, Richard David
Hupper, also known as “Piraton”, and Andrew Doyal Pugh, defendants, did
intentionally and knowingly distribute and possess with intent to distribute 500 grams and
more of a mixture and substance containing a detectable amount of methamphetamine, a
Schedule IT controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A)(viii),
Title 18, United States Code, Section 2, and Pinkerton v. United States, 328 U.S. 640

(1946).

Jose Garcia-Lizanaga, et al.
Indictment - Page 6
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 7 of 33 PagelD 718

Count Four
Distribution and Possession with Intent to Distribute Marihuana
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(D))

On or about May 4, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Robert Lee Melendez, also known as “Roberto”, defendant, did
intentionally and knowingly distribute and possess with intent to distribute a mixture and
substance containing a detectable amount of marihuana, a Schedule I controlled

substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(D).

Jose Garcia-Lizanaga, et al.
Indictment - Page 7

 
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 8of33 PagelD 719

Count Five
Unlawful Use of a Communications Facility
(Violation of 21 U.S.C. § 843(b))

On or about April 30, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Jose Garcia-Lizanaga, also known as “Chepe”, Jorge Lizarraga-
Tirado, also known as “Luis” or “Barba”, and Robert Lee Melendez, also known as
“Roberto”, defendants, did intentionally and knowingly use a communications facility, to
wit: cellular telephones, in facilitating the commission of Distribution and Possession
with Intent to Distribute Cocaine, in violation of Title 21, United States Code, Section
841(a)(1).

In violation of Title 21, United States Code, Section 843(b).

Jose Garcia-Lizanaga, et al.
Indictment - Page 8

 
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page9of33 PagelD 720

Count Six
Unlawful Use of a Communications Facility
(Violation of 21 U.S.C. § 843(b))

On or about April 21, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Jose Garcia-Lizanaga, also known as “Chepe”, and Juana
Sanchez, also known as “Juana Salazar” or “Jaime”, defendants, did intentionally and
knowingly use a communications facility, to wit: cellular telephones, in facilitating the
commission of Distribution and Possession with Intent to Distribute Cocaine, in violation

of Title 21, United States Code, Section 841(a)(1).

In violation of Title 21, United States Code, Section 843(b).

Jose Garcia-Lizanaga, et al.
Indictment - Page 9

 
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 10 of 33 PagelD 721

Count Seven
Distribution and Possession with Intent to Distribute
500 Grams or More of Cocaine
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(@ii))

On or about April 16, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Jose Garcia-Lizanaga, also known as “Chepe”, Jorge Lizarraga-
Tirado, also known as “Luis” or “Barba”, Antonio Alvarez, Jr., also known as “Tony”,
and Jessica Angel Deleon, defendants, did intentionally and knowingly distribute and
possess with intent to distribute 500 grams and more, but less than five kilograms, of a
mixture and substance containing a detectable amount of cocaine, a Schedule II
controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B)(ii),
Title 18, United States Code, Section 2, and Pinkerton v. United States, 328 U.S. 640

(1946).

Jose Garcia-Lizanaga, et al.
Indictment - Page 10

 
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page11of33 PagelD 722

Count Eight
Unlawful Use of a Communications Facility

(Violation of 21 U.S.C. § 843(b))

On or about April 15, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Jose Garcia-Lizanaga, also known as “Chepe”, Jorge Lizarraga-
Tirado, also known as “Luis” or “Barba”, and Jesus Marcus Franco, also known as
“Jesse”, defendants, did intentionally and knowingly use a communications facility, to
wit: cellular telephones, in facilitating the commission of Distribution and Possession
with Intent to Distribute Cocaine, in violation of Title 21, United States Code, Section
841(a)(1).

In violation of Title 21, United States Code, Section 843(b).

Jose Garcia-Lizanaga, et al.
Indictment - Page 11

 
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page12o0f33 PagelD 723

Count Nine
Distribution and Possession with Intent to Distribute Cocaine
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C))

On or about April 10, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Tose Garcia-Lizanaga, also known as “Chepe”’, and Jorge
Lizarraga-Tirado, also known as “Luis” or “Barba”, defendants, did intentionally and
knowingly distribute and possess with intent to distribute a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C),

Title 18, United States Code, Section 2, and Pinkerton v. United States, 328 U.S. 640

(1946).

Jose Garcia-Lizanaga, et al.
Indictment - Page 12
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 13 0f33 PagelD 724

Count Ten
Bulk Cash Smuggling
(Violation of 31 U.S.C. § 5332(a))

On or about April 7, 2018, in the Lubbock Division of the Northern District of
Texas, the Western District of Texas, and elsewhere, Petra Maria Sauceda-Perez, also
known as “Aunt” or “Tia”, defendant, did, with the intent to evade a currency reporting
requirement under Title 31, United States Code, Section 5316, knowingly conceal more
than $10,000 in currency and other monetary instruments, on the defendant’s person and
in a conveyance, article of luggage, merchandise, and other container, and transported
and transferred, and attempted to transport and transfer, such currency and monetary
instruments from a place within the United States to a place outside of the United States.

In violation of Title 31, United States Code, Section 5332(a), and Title 18, United

States Code, Section 2.

Jose Garcia-Lizanaga, et al.
Indictment - Page 13

 
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page14o0f33 PagelD 725

Count Eleven
Unlawful Use of a Communications Facility
(Violation of 21 U.S.C. § 843(b))

On or about April 6, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Jose Garcia-Lizanaga, also known as “Chepe”, Jorge Lizarraga-
Tirado, also known as “Luis” or “Barba”, Eduardo Agustin Cruz, also known as
“Lalo”, and Jesus Marcus Franco, also known as “Jesse”, defendants, did intentionally
and knowingly use a communications facility, to wit: cellular telephones, in facilitating
the commission of Distribution and Possession with Intent to Distribute Cocaine, in

violation of Title 21, United States Code, Section 841(a)(1).

In violation of Title 21, United States Code, Section 843(b).

Jose Garcia-Lizanaga, et al.
Indictment - Page 14

 
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page15o0f33 PagelD 726

Count Twelve
Possession with Intent to Distribute Cocaine
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C))
On or about February 21, 2018, in the Lubbock Division of the Northern District
of Texas, and elsewhere, Saul Chavira-Molina, defendant, did intentionally and
knowingly possess with intent to distribute a mixture and substance containing a

detectable amount of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

Jose Garcia-Lizanaga, et al.
Indictment - Page 15
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page16o0f33 PagelD 727

Count Thirteen
Possession with Intent to Distribute Cocaine
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C))
On or about February 19, 2018, in the Lubbock Division of the Northern District
of Texas, and elsewhere, Arturo Sanchez, defendant, did intentionally and knowingly
possess with intent to distribute a mixture and substance containing a detectable amount

of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

Jose Garcia-Lizanaga, et al.
Indictment - Page 16

 
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page17of33 PagelD 728

Count Fourteen
Possession with Intent to Distribute Cocaine
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C))

On or about February 16, 2018, in the Lubbock Division of the Northern District
of Texas, and elsewhere, Gregory Holleman, also known as “G”, and Jermaine Edgar
Garmon, defendants, did intentionally and knowingly possess with intent to distribute a
mixture and substance containing a detectable amount of cocaine, a Schedule II
controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C),

Title 18, United States Code, Section 2, and Pinkerton v. United States, 328 U.S. 640

(1946).

Jose Garcia-Lizanaga, et al.
Indictment - Page 17

 
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page18of33 PagelD 729

Count Fifteen
Possession with Intent to Distribute Cocaine
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C))
On or about February 16, 2018, in the Lubbock Division of the Northern District
of Texas, and elsewhere, Shad Everett Evans, defendant, did intentionally and
knowingly possess with intent to distribute a mixture and substance containing a

detectable amount of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

Jose Garcia-Lizanaga, et al.
Indictment - Page 18 '

 
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 19o0f33 PagelD 730

Count Sixteen
Distribution and Possession with Intent to Distribute
28 Grams or More of Cocaine Base
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(iii))

On or about February 9, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Broderick Bradley, defendant, did intentionally and knowingly
distribute and possess with intent to distribute 28 grams and more, but less than 280
grams, of a mixture and substance containing a detectable amount of cocaine base, a
Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(B) (iii).

Jose Garcia-Lizanaga, et al.
Indictment - Page 19
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 20o0f33 PagelD 731

Count Seventeen
Distribution and Possession with Intent to Distribute Cocaine
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C))
On or about January 29, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Broderick Bradley, defendant, did intentionally and knowingly
distribute and possess with intent to distribute a mixture and substance containing a

detectable amount of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

Jose Garcia-Lizanaga, et al.
Indictment - Page 20

 
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 21o0f33 PagelD 732

Count Eighteen
Possession of a Firearm in Furtherance of a Drug Trafficking Crime

(Violation of 18 U.S.C. § 924(c))

On or about June 6, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Andrew Doyal Pugh, defendant, did knowingly possess a firearm,
to wit: a Taurus, .45 caliber revolver, serial number BU667666, in furtherance of a drug
trafficking crime, that is, Possession with Intent to Distribute 500 Grams or More of
Methamphetamine, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A)(vili), as charged in count three of this indictment, an offense for which he
may be prosecuted in a court of the United States.

In violation of Title 18, United States Code, Sections 924(c) and 2.

Jose Garcia-Lizanaga, et al.
Indictment - Page 21
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 22 of 33 PagelD 733

Count Nineteen
Distribution and Possession with Intent to Distribute Cocaine
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C))

On or about June 14, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Eduardo Agustin Cruz, also known as “Lalo”, and Alejandro
Castillo, also known as “Alex”, defendants, did intentionally and knowingly distribute
and possess with intent to distribute a mixture and substance containing a detectable
amount of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)\(C),

Title 18, United States Code, Section 2, and Pinkerton v, United States, 328 U.S. 640

(1946).

Jose Garcia-Lizanaga, et al.
Indictment - Page 22
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 23 of 33 PagelD 734

Count Twenty
Possession of a Firearm in Furtherance of a Drug Trafficking Crime

(Violation of 18 U.S.C. § 924(c))

On or about June 14, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Alejandro Castillo, also known as “Alex”, defendant, did
knowingly possess a firearm, to wit: a Springfield, model XDS, 9mm pistol, serial
number $3734126, in furtherance of a drug trafficking crime, that is, Distribution and
Possession with Intent to Distribute Cocaine, in violation of Title 21, United States Code,
Sections 841(a)(1) and 841(b)(1)(C), as charged in count nineteen of this indictment, an
offense for which he may be prosecuted in a court of the United States.

In violation of Title 18, United States Code, Sections 924(c) and 2.

Jose Garcia-Lizanaga, et al.
Indictment - Page 23

 
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 24 o0f33 PagelD 735

Count Twenty-One
Possession with Intent to Distribute Cocaine

(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C))
On or about June 21, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Paul Larue Bradley, defendant, did intentionally and knowingly
possess with intent to distribute a mixture and substance containing a detectable amount

of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

Jose Garcia-Lizanaga, et al.
Indictment - Page 24
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 25o0f33 PagelD 736

Count Twenty-Two
Possession of a Firearm in Furtherance of a Drug Trafficking Crime

(Violation of 18 U.S.C. § 924(c))

On or about June 21, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Broderick Bradley, defendant, did knowingly possess a firearm,
to wit: a Springfield, model XD, .45 caliber pistol, serial number XS63 1648, in
furtherance of a drug trafficking crime, that is, Conspiracy to Distribute and Possess with
Intent to Distribute Cocaine, in violation of Title 21, United States Code, Section 846, as
charged in count one of this indictment, an offense for which he may be prosecuted in a
court of the United States.

In violation of Title 18, United States Code, Sections 924(c) and 2.

Jose Garcia-Lizanaga, et al.
Indictment - Page 25

 
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 26 of 33 -PagelD 737

Count Twenty-Three
Possession with Intent to Distribute Cocaine

(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C))

On or about June 21, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Jesus Marcus Franco, also known as “Jesse”, defendant, did
intentionally and knowingly possess with intent to distribute a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

Jose Garcia-Lizanaga, et al.
Indictment - Page 26
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 27 of 33 PagelD 738

Count Twenty-Four
Possession of Firearms in Furtherance of a Drug Trafficking Crime

(Violation of 18 U.S.C. § 924(c))

On or about June 21, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Jesus Marcus Franco, also known as “Jesse”, defendant, did
knowingly possess firearms, to wit: a Smith and Wesson, 9mm pistol, serial number
FWF2835; a Mossberg, 12-gauge shotgun, serial number T180452; and a Mossberg, 12-
gauge shotgun, serial number V0231512, in furtherance of a drug trafficking crime, that
is, Possession with Intent to Distribute Cocaine, in violation of Title 21, United States
Code, Sections 841(a)(1) and 841(b)(1)(C), as charged in count twenty-three of this
indictment, an offense for which he may be prosecuted in a court of the United States.

In violation of Title 18, United States Code, Sections 924(c) and 2.

Jose Garcia-Lizanaga, et al.
Indictment - Page 27

 
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 28o0f33 PagelD 739

Count Twenty-Five
Possession of a Firearm in Furtherance of a Drug Trafficking Crime

(Violation of 18 U.S.C. § 924(c))

On or about June 21, 2018, in the Lubbock Division of the Northern District of
Texas, and elsewhere, Jorge Lizarraga-Tirado, also known as “Luis” or “Barba”,
defendant, did knowingly possess a firearm, to wit: a Smith and Wesson, model M&P,
9mm pistol, serial number HTM7141, in furtherance of a drug trafficking crime, that is,
Conspiracy to Distribute and Possess with Intent to Distribute Cocaine, in violation of
Title 21, United States Code, Section 846, as charged in count one of this indictment, an
offense for which he may be prosecuted in a court of the United States.

In violation of Title 18, United States Code, Sections 924(c) and 2.

Jose Garcia-Lizanaga, et al.
Indictment - Page 28

 
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 29 of33 PagelD 740
Forfeiture Notice
(21 U.S.C. § 853(a) and 21 U.S.C. § 853(p))

Upon conviction of any offense charging a violation of United States Code, Title
21, and pursuant to 21 U.S.C. § 853(a), defendants, Jose Garcia-Lizanaga, also known
as “Chepe”, Jorge Lizarraga-Tirado, also known as “Luis” or “Barba”, Antonio
Alvarez, Jr., also known as “Tony”, Eduardo Agustin Cruz, also known as “Lalo”,
Robert Lee Melendez, also known as “Roberto”, Jesus Marcus Franco, also known as
“Jesse”, Juana Sanchez, also known as “Juana Salazar” or “Jaime”, Richard David
Hupper, also known as “Piraton”, Andrew Doyal Pugh, Gregory Holleman, also
known as “G”, Saul Chavira-Molina, Jermaine Edgar Garmon, Shad Everett Evans,
Arturo Sanchez, Petra Maria Sauceda-Perez, also known as “Aunt” or “Tia”, Kim
Herrera, Jessica Angel Deleon, Broderick Bradley, Ambrosio Garcia, Jr., also
known as “Bocho”, Ambrosio Garcia-Rodriguez, Sr., Alejandro Castillo, also known
as “Alex”, and/or Paul Larue Bradley, defendants, shall forfeit to the United States of
America any property constituting, or derived from, any proceeds the defendant(s)
obtained, directly or indirectly, as a result of the offense(s), and any of the property used,
or intended to be used, in any manner or part, by the defendant(s) to commit, or to
facilitate the commission of the offense(s).

Pursuant to 21 U.S.C. § 853(p), if any of the property described above, as a result
of any act or omission of the defendant(s):

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

Jose Garcia-Lizanaga, et al.
Indictment - Page 29
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 300f33 PagelD 741

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without
difficulty,

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of

any other property of the defendant(s) up to the value of the forfeitable property

described above.

ERIN NEALY COX
UNITED STATES ATTORNEY

\ thaw LL.) YS ee

sian? LONG >
Assistant United States Attorney
Texas State Bar No. 24056734
1205 Texas Avenue, Suite 700
Lubbock, Texas 79401

Telephone: 806-472-7351
Facsimile: 806-472-7394
E-mail: sean.long@usdoj.gov

Jose Garcia-Lizanaga, et al.
Indictment - Page 30

A TRUE BILL:

betlec

FOREPERSON

 
 

Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 31of33 PagelD 742

 

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

LUBBOCK DIVISION
UNITED STATES OF AMERICA

V.

JOSE GARCIA-LIZANAGA (1)
a/k/a “Chepe”

JORGE LIZARRAGA-TIRADO (2)
a/k/a “Luis” or “Barba”
ANTONIO ALVAREZ, JR. (3)
a/k/a “Tony”
EDUARDO AGUSTIN CRUZ (4)
a/k/a “Lalo”

ROBERT LEE MELENDEZ (5)
a/k/a “Roberto”

JESUS MARCUS FRANCO (6)
a/k/a “Jesse”

JUANA SANCHEZ (7)

a/k/a “Juana Salazar” or “Jaime”
RICHARD DAVID HUPPER (8)
a/k/a “Piraton”
ANDREW DOYAL PUGH (9)
GREGORY HOLLEMAN (10)
a/k/a “G”

SAUL CHAVIRA-MOLINA (11)
JERMAINE EDGAR GARMON (12)
SHAD EVERETT EVANS (13)
ARTURO SANCHEZ (14)
PETRA MARIA SAUCEDA-PEREZ (16)
a/k/a “Aunt” or “Tia”

KIM HERRERA (17)
JESSICA ANGEL DELEON (18)
BRODERICK BRADLEY (19)
AMBROSIO GARCIA, JR. (20)
a/k/a ““Bocho”
AMBROSIO GARCIA-RODRIGUEZ, SR. (21)
ALEJANDRO CASTILLO (22)
a/k/a “Alex”

PAUL LARUE BRADLEY (23)
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 32 o0f33 PagelD 743

 

COUNT L:

COUNTS 2 and 7:

COUNT 3:

COUNT 4:

COUNTS 5, 6, 8, and 11:

COUNTS 9 and 17:

COUNT 10:

COUNTS 12-15, 19, 21,
and 23:

COUNT 16:

COUNTS 18, 20, 22, 24,
and 25:

INDICTMENT

CONSPIRACY TO DISTRIBUTE AND POSSESS

WITH INTENT TO DISTRIBUTE CONTROLLED
SUBSTANCES

Title 21, United States Code, Section 846.
DISTRIBUTION AND POSSESSION WITH INTENT TO
DISTRIBUTE 500 GRAMS OR MORE OF COCAINE
Title 21, United States Code, Sections 841(a)(1),
841(b)(1)(B)(ii).

DISTRIBUTION AND POSSESSION WITH INTENT TO
DISTRIBUTE 500 GRAMS OR MORE OF
METHAMPHETAMINE

Title 21, United States Code, Sections 841(a)(1),
841(b)(1)(A)(viil).

DISTRIBUTION AND POSSESSION WITH INTENT TO
DISTRIBUTE MARIHUANA

Title 21, United States Code, Sections 841(a)(1),
841(b)(1)(D).

UNLAWFUL USE OF A COMMUNICATIONS FACILITY
Title 21, United States Code, Section 843(b).
DISTRIBUTION AND POSSESSION WITH INTENT TO
DISTRIBUTE COCAINE

Title 21, United States Code, Sections 841(a)(1),
841(b)(1)(C).

BULK CASH SMUGGLING

Title 31, United States Code, Section 5332(a).
POSSESSION WITH INTENT TO DISTRIBUTE
COCAINE

Title 21, United States Code, Sections 841(a)(1),
841(b)(1)(C).

DISTRIBUTION AND POSSESSION WITH INTENT TO
DISTRIBUTE 28 GRAMS OR MORE OF COCAINE BASE
Title 21, United States Code, Sections 841(a)(1),
841(b)(1)(B) (iii).

POSSESSION OF A FIREARM(S) IN FURTHERANCE OF
A DRUG TRAFFICKING CRIME

Title 18, United States Code, Section 924(c).

FORFEITURE NOTICE

(25 COUNTS + FORFEITURE NOTICE)
Case 5:18-cr-00050-C Document 367 Filed 07/11/18 Page 33 0f33 PagelD 744

sft

A true bill rendered:
Lubbock

Foreperson

Filed in open court this | |p day of. Ju | y ,

AD. 2018.

v

 

ARREST WARRANT TO ISSUE ONLY AS TO: Paul Larue Bradley

NO-

UNITED STATES MPOISTRATE JUDGE

 
